                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                3:05CR339-MU
UNITED STATES OF AMERICA            )
                                    )
vs.                                 )         ORDER
                                    )
ROYRE ERVIN                         )
____________________________________)

       This matter is before the Court upon the memorandum and recommendation of United States

Magistrate David C. Keesler, filed March 23, 2006. The parties were advised that pursuant to 28

U.S.C. § 636(b)(1)(C), written objections to the memorandum and recommendation must be filed

within 10 days after service of the memorandum. Defendant timely filed a Partial Objection to the

Memorandum and Recommendation.

       After an independent and thorough review of the magistrate's memorandum, defendant’s

objections thereto, and a de novo review of the record, the Court concludes that the recommendation

to grant in part and deny in part defendant’s Motion to Suppress is correct and in accordance with

law. Accordingly, the findings and conclusions of the magistrate are accepted and defendant’s

Motion to Suppress is GRANTED IN PART AND DENIED IN PART.

       IT IS THEREFORE ORDERED that the memorandum and recommendation of the

magistrate is hereby AFFIRMED.

                                                     Signed: April 20, 2006




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